Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 1 of 32




           EXHIBIT 17
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 2 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 3 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 4 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 5 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 6 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 7 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 8 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 9 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 10 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 11 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 12 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 13 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 14 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 15 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 16 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 17 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 18 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 19 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 20 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 21 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 22 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 23 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 24 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 25 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 26 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 27 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 28 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 29 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 30 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 31 of 32
Case 1:19-cv-00150-DLF Document 109-19 Filed 01/24/22 Page 32 of 32
